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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                     v.                                                    (For Revocation of Probation or Supervised Release)
                                                                           (For Offenses committed on or after November 1, 1987)
              VANTHOEUN KHAO
                      (Defendant’s Name)                                   Criminal Number: 2:04CR00205-03


                                                                           Dennis Waks, Assistant Federal Defender
                                                                           Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1 as alleged in the violation petition filed on 6/14/10 .
[]  was found in violation of condition(s) of supervision as to charge(s)      after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                      Date Violation Occurred
1                                    New Law Violation                                        4/17/10




The court: [ ] revokes: [U] modifies: [U] continues under same conditions of supervision heretofore ordered on 2/11/05 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 8/13/10
                                                                 Date of Im position of Sentence




                                                                 S ignature of Judicial O fficer



                                                                 GARLAND E. BURRELL, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 8/31/10
                                                                 Date
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
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DEFENDANT:                  VANTHOEUN KHAO


                                                 SUPERVISED RELEASE
The defendant is continued on supervised release with all previously ordered conditions and the additional conditions listed on page 3
of the judgment.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   As directed by the probation officer, the defendant shall participate in an inpatient correctional
              treatment program to obtain assistance for drug or alcohol abuse.

         2.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
              places where alcohol is the chief item of sale.
